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                                                                                                    Tonawanda


                                                                6               Clarence        Newstead
                                     10   Tonawanda
                                                             Amherst
                                             11
                                                7
                                                         8                         5              Alden
                                                                 9
                                               Buffalo                          Lancaster




                                               Lackawanna
                                                                            1     Elma          Marilla



                                                     3
                                             Hamburg
                                                             Orchard Park
                                                                                 Aurora
                                                                                            4
                                                                                                 Wales
      County subdivisions not defined



                             Evans           Eden             Boston             Colden          Holland


                         Brant
                                           North Collins
                                                 2                                          Sardinia
                        Cattaraugus                                  Concord



                                              Collins
